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                                                                                   Latitude       Longitude
Alegria de la Vida Vineyards LLC                                                     33.837979°   ‐102.207795°
Alta Loma Vineyard Partnership                                                       33.150867°   ‐102.258609°
Bingham Family Vineyards, LLC                                                        33.306412°   ‐102.414088°
Rowdy Bolen and Tameisha Bolen                                                       33.594509°   ‐102.172323°
Bueno Suerte Vineyards, LLC                                                          33.320791°   ‐102.475799°
Castano Prado Vineyard, LLC                                                          33.176324°   ‐102.244234°
Mike West dba Challis Vineyards                                                      33.281552°   ‐102.220734°
Chase Lane & Kendra Lane dba Chase Lane Vineyard                                     33.430794°   ‐102.174410°
Gary Steven Brown & Pamela Joyce Brown dba Cooper Vineyard                           33.464879°   ‐102.092669°
Russell Smothermon & Sharlann Smothermon dba Corkscrew Vineyards                     33.176115°   ‐102.240014°
Cornelious Corporation                                                               33.270154°   ‐102.788602°
Cox Family Winegrowers, LLC dba Cox Family Vineyards                                 33.723613°   ‐101.796265°
LT Investment Group, LLC dba Crazy Cluster Vineyard                                  33.224605°   ‐102.342938°
Mary McKee dba Curvo Fila Vineyard                                                   33.419698°   ‐101.827450°
Daniels Farmland Trust                                                               33.312518°   ‐102.439212°
Ty Wilmeth dba Diamante Doble Dos Vineyards                                          33.145352°   ‐102.586615°
Jeter and Gay Wilmeth dba Diamante Doble Vineyard                                    33.145055°   ‐102.578779°
Larry Smith & Sue Smith dba Dog Gone Vineyard                                        33.446874°   ‐102.231910°
Dwayne Canada, Brenda Canada, Daniel Canada dba Canada Family Vineyard               33.256203°   ‐102.940068°
Sawyer Farm Partnership dba The Family Vineyard                                      33.148703°   ‐102.256578°
Lonnie Graham & Penny Graham dba Five Star Vineyard                                  33.180581°   ‐102.224022°
Dustin Gilliam and Glenda Gilliam dba Gilliam Gap Vineyards                          33.440431°   ‐102.146739°
Gillmore Brothers, LP LLP dba Gillmore Brothers Vineyard                             33.602543°   ‐102.500558°
Andis Applewhite dba Half Circle Cross Vineyard                                      34.289442°   ‐101.407035°
La Pradera Vineyards, LLC                                                            33.162806°   ‐102.256800°
Lahey Farms, LLC                                                                     33.116512°   ‐102.395678°
Lilli of the Vine Vineyards, Inc.                                                    32.613951°   ‐101.909499°
Andy Timmons, Inc. dba Lost Draw Vineyards                                           33.548838°   ‐101.992914°
Preston and Kelly Alison (previously Martin's Vineyards)                             33.506983°   ‐102.149644°
Peggy Seeley & George Seeley dba Moonlight Vineyards                                 33.199197°   ‐102.268176°
Narra Vineyards, LLC                                                                 33.143764°   ‐102.291097°
Hilltop Winery at Paka Vineyards LLC                                                 33.182564°   ‐102.464511°
Peggy Bingham dba Peggy Bingham Farms                                                33.338081°   ‐102.344203°
Tony Phillips and Madonna Phillips dba Phillips Vineyard                             33.122889°   ‐102.277105°
Reddy Vineyards, Inc.                                                                33.181325°   ‐102.235340°
Rowland Taylor Vineyards, LLC                                                        33.133811°   ‐102.256822°
Clara Ann McPherson dba Sagmor Vineyards                                             33.514285°   ‐101.813114°
Charles & Cheryl Seifert dba Seifert Stables & Vineyards                             33.750455°   ‐102.009491°
Six Harts Vineyard, LLC                                                              33.167327°   ‐102.611471°
The Tom & Janice Henslee Living Trust                                                33.311090°   ‐102.412871°
Doug Thomas and Anissa Thomas dba Thomas Acres                                       33.623901°   ‐102.171471°
Tony and Bertha Hendricks dba Hendricks Family Vineyard                              33.445961°   ‐102.039765°
Carolyn Keane, Anna Winnell Young and Marjorie Jones Partnership dba Tucker Farm 33.294212°       ‐102.386470°
Twin‐T Vineyards, Inc.                                                               33.161640°   ‐102.239358°
Joe Riddle dba Uva Morado Vineyard                                                   33.589533°   ‐102.157542°
Ronald Luker & Margaret Luker dba White Rock Vineyards                               33.036715°   ‐102.188431°
Williams Ranch Vineyard, LLC                                                         33.325892°   ‐102.707607°
Larry Young dba Young Family Vineyards                                               33.180886°   ‐102.228452°
Texas Winery Owners Group, LLC                                                       33.183327°   ‐102.225826°
Benjamin Friesen                                                                     32.740020°   ‐102.649057°
Donna Burgess Enterprises, LLC dba Covenant Vineyard                                 33.317427°   ‐101.904465°
Caprock Distributors, LLC                                                            33.447197°   ‐101.831871°
Steve Newsom, Cindy Newsom, and Gabe Hisel                                           33.437492°   ‐102.302722°
Newsom Family Farms, LLC                                                             33.472428°   ‐102.477936°
Ledlie Powell, Individually and as Trustee of the Ledlie S. and Danette Powell
Revocable Trust and Danette Powell, Individually and as Trustee of the Ledlie S. and
Danette Powell Revocable Trust dba Newsom Powell Vineyard                            33.597663°   ‐102.381977°
Don Hill dba Don Hill Farms                                                          33.480157°   ‐102.506285°
Lynce Charles Carroll                                                                33.267896°   ‐102.218932°


                                                                                     EXHIBIT 2
